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        Attorneys for Plaintiff
   11
   12                        UNITED STATES DISTRICT COURT
   13         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   14
   15   LUIS LORENZO VARGAS,                             Case No. 2:16-cv-08684-SVW-AFM
   16                                   Plaintiff,       PLAINTIFF LUIS VARGAS’
                                                         WITNESS LIST PURSUANT TO
   17                 v.                                 LOCAL RULE 16-5
   18
        CITY OF LOS ANGELES; LOS
   19   ANGELES POLICE DEPARTMENT;                       HON. STEPHEN V. WILSON
        COUNTY OF LOS ANGELES;
   20   OFFICE OF THE LOS ANGELES
        DISTRICT ATTORNEY; LOS
   21   ANGELES SHERIFF’S                                CTRM:     10A
        DEPARTMENT; MONICA QUIJANO;
   22   RICHARD TAMEZ; SCOTT SMITH;                      Complaint Filed:     Nov. 12, 2019
        AND DOES 1-10, INCLUSIVE,
   23                                                    Pretrial Conference: June 17, 2019
                                    Defendants.          Trial Date:          June 25, 2019
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                                                     1
                                  PLAINTIFF’S WITNESS LIST – L.R. 16-5
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    1        TO THIS COURT, ALL PARTIES, AND THEIR COUNSEL OF
    2 RECORD, pursuant to Local Rule 16-5 and the Court’s Order, Plaintiff Luis Vargas
    3 respectfully submits the following Witness List:
    4
             1. Luis Lorenzo Vargas
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             2. Florentina Vargas
    6        3. Blanca Alatorre
             4. Teresa R.
    7
             5. Karen P.
    8        6. Edith G.
    9
             7. Monica Quijano
             8. Richard Tamez
   10        9. Robin Allen
   11        10. Frank Rorie
             11. Anthony J. Patti
   12        12. Dan Jenks
   13        13. Scott Smith
             14. Sharlene Johnson
   14        15. Al Contreras
   15        16. Raquel Cohen
             17. William Scott Carty
   16
             18. Denys Medel
   17
   18
   19
        DATED: May 27, 2019                  LAW OFFICES OF JAN STIGLITZ
   20
                                             /s/ Jan Stiglitz
   21                                        Jan Stiglitz, Esq.
                                             Attorney for Plaintiff Luis Lorenzo Vargas
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                                                  2
                                 PLAINTIFFS’ WITNESS LSIT – L.R. 16-5
